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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                         MAX SOUND CORPORATION, et al.,
                                   8                                                         Case No. 5:14-cv-04412-EJD
                                                         Plaintiffs,
                                   9                                                         ORDER DENYING MOTION TO STAY
                                                  v.                                         ENFORCEMENT OF JUDGMENT AND
                                  10                                                         GRANTING MOTION TO AMEND
                                         GOOGLE LLC, et al.,                                 JUDGMENT
                                  11
                                                         Defendants.                         Re: Dkt. Nos. 228, 229
                                  12
Northern District of California
 United States District Court




                                  13      I.       INTRODUCTION

                                  14            Before the Court is Defendant and Judgment Creditor Google LLC’s Motion to Amend

                                  15   Judgment to Add Harold John Blaisure and Greg Halpern (“Motion to Amend”), and Plaintiff and

                                  16   Judgment Debtor Max Sound Corporation’s Motion to Stay Enforcement of Judgment (“Motion to

                                  17   Stay”). Both Motions concern the Court’s order that Max Sound pay $820,321.41 in attorneys’

                                  18   fees to Google. Dkt. 192. Having considered the papers submitted by the parties and heard

                                  19   argument on the motions, the Court denies the Motion to Stay and grants the Motion to Amend.

                                  20      II.      BACKGROUND

                                  21            The Court’s Order Granting Defendants’ Motion to Dismiss (Dkt. 138) describes the

                                  22   factual background of this litigation. The relevant procedural history is as follows:

                                  23            After dismissing the case for lack of subject matter jurisdiction on November 24, 2015

                                  24   (id.), the Court granted in part and denied in part Google’s Motion for Attorneys’ Fees on

                                  25   September 25, 2017. Dkt. 192. The Court ordered Max Sound to pay $820,321.41 in attorneys’

                                  26   fees after finding that Max Sound had “relied on nothing more than its own aspirations from weak

                                  27   circumstantial indicators—rather than clear language from the controlling legal documents—to

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                                   1   argue that it had standing” and “litigated this case in an exceptionally unreasonable manner.” Id.

                                   2   at 14-15, 24. Max Sound appealed the Court’s Attorneys’ Fees Order to the Federal Circuit on

                                   3   October 3, 2017. Dkt. 194. Oral argument before the Federal Circuit is set for March 7, 2019.

                                   4   Dkt. 234-1 at 1. On April 6, 2018, the Court granted in part and denied in part Google’s Motion

                                   5   for Order Permitting Registration of Judgment, permitting Google to register the attorneys’ fees

                                   6   order in the U.S. District Court for the Southern District of California. Dkt. 220.

                                   7             On December 13, Google filed the Motion to Amend to add Max Sound’s only officers,

                                   8   Mr. Blaisure and Mr. Halpern, as judgment debtors. Dkt. 228. Google argues that they are the

                                   9   alter egos of Max Sound, and that they control this litigation. Id. Max Sound did not file any

                                  10   response to the Motion to Amend. Instead, on December 26, 2018, Max Sound filed its Motion to

                                  11   Stay.

                                  12      III.      THE MOTION TO STAY
Northern District of California
 United States District Court




                                  13             Under Federal Rule of Civil Procedure 62(b), after a judgment has been entered, “a party

                                  14   may obtain a stay [of the proceedings to enforce the judgment] by providing a bond or other

                                  15   security.” A district court in its discretion may determine that the party requesting the stay need

                                  16   not provide such a supersedeas bond. United States v. Moyer, 2008 WL 3478063, at *12 (N.D.

                                  17   Cal. Aug. 12, 2008). In the Ninth Circuit, district courts have largely adopted the factors laid out
                                       in Dillon v. City of Chicago, 866 F.2d 902, (7th Cir. 1988), when considering this question.
                                  18
                                       Moyer, 2008 WL 3478063, at *12; Cotton ex rel. McClure v. City of Eureka, Cal., 860 F. Supp. 2d
                                  19
                                       999, 1028 (N.D. Cal. 2012). Under the Dillon, the Court should consider:
                                  20
                                                     (1) the complexity of the collection process; (2) the amount of time
                                  21                 required to obtain a judgment after it is affirmed on appeal; (3) the degree
                                                     of confidence that the district court has in the availability of funds to pay
                                  22                 the judgment; (4) whether the defendant's ability to pay the judgment is so
                                                     plain that the cost of a bond would be a waste of money; and (5) whether
                                  23                 the defendant is in such a precarious financial situation that the
                                  24                 requirement to post a bond would place other creditors of the defendant in
                                                     an insecure position.
                                  25   Dillon, 866 F.2d at 904-05 (citations and quotations omitted).
                                  26             Max Sound does not engage with the Dillon factors, but rather, argues that the Court
                                  27   should apply the factors used to weigh a preliminary injunction. That is not correct. “[C]ourts in
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                                   1   this circuit have held that the preliminary injunction test specifically applies to a stay of injunctive

                                   2   relief pursuant to Federal Rule of Civil Procedure 62(c), and is irrelevant in a case involving a

                                   3   monetary judgment.” Sarver v. Hurt Locker LLC, 2012 WL 12892147, at *2 (C.D. Cal. Feb. 2,

                                   4   2012). The Court declines to apply the preliminary injunction factors here.

                                   5          Max Sound also argues it will suffer irreparable financial harm if the judgment is not
                                       stayed. But Max Sound’s financial insecurity weighs in favor of requiring a bond or security.
                                   6
                                       “The purpose of the supersedeas bond is to ‘protect the prevailing party from the risk of a later
                                   7
                                       uncollectible judgment.’” Sarver, 2012 WL 12892147, at *2 (quoting NLRB v. Westphal, 859
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                                       F.2d 818, 819 (9th Cir. 1988), alterations omitted). Here, the bond is necessary to protect
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                                       Google’s right to enforce its monetary judgment. See id. (citing Fed. Prescription Serv., Inc. v.
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                                       Am. Pharm. Ass’n, 636 F.2d 755, 760 (D.C. Cir. 1980)). Max Sound’s apparent financial hardship
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                                       is unfortunate, but the Court cannot put Google’s right to obtain its judgment “at risk solely on the
                                  12
Northern District of California




                                       basis of [Max Sound’s] ability to pay. Indeed, it may be an abuse of discretion to do so.” Id.
 United States District Court




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                                       (citing Geddes v. United Fin. Grp., 559 F.2d 557, 560-61 (9th Cir. 1977)).
                                  14
                                              The Motion to Stay is DENIED.
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                                       IV.    THE MOTION TO AMEND
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                                              Google has moved the Court to amend its attorneys’ fees judgment to add Mr. Blaisure and
                                  17   Mr. Halpern as judgment debtors. Google asserts that Max Sound cannot pay the judgment, at
                                  18   least in part, because Mr. Blaisure and Mr. Halpern have treated Max Sound as their personal
                                  19   piggy bank receiving substantial compensation from the corporation. Dkt. 228 at 1-2. Max Sound
                                  20   never responded to the Motion to Amend, but it concedes in its Reply in support of the Motion to
                                  21   Stay, that its Motion was an attempt to prevent Google from “mak[ing] Mr. Halpern and Mr.
                                  22   Blaisure immediately liable on the judgment.” Dkt. 232 at 3.
                                  23          Max Sound’s actions violate the Local Rules. Local Rule 7-3 required Max Sound to file

                                  24   either an opposition or a statement of non-opposition to Google’s Motion to Amend. Filing the

                                  25   Motion to Stay did not relieve Max Sound of that obligation. Courts in this district have held that

                                  26   one party’s failure to oppose or to respond to the other party’s motion is grounds to grant the

                                  27   motion. See, e.g., Giroux v. Essex Prop. Tr., Inc., 2016 WL 5394088, at *1 (N.D. Cal. Sept. 27,

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                                   1   2016) (collecting cases). Accordingly, and for good cause showing, the Court GRANTS the

                                   2   Motion to Amend.

                                   3          Pursuant to Federal Rule of Civil Procedure 69(a) and California Code of Civil Procedure

                                   4   Section 187, as the sole executives and officers of judgment debtor Max Sound, individuals and

                                   5   natural persons Harold John Blaisure and Greg Halpern are added as additional judgment debtors
                                       to the judgment against Max Sound that was originally issued by this Court on September 25,
                                   6
                                       2017 at Docket Entries 192 (under seal) and 198 (public).
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                                               IT IS SO ORDERED.
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                                       Dated: February 7, 2019
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                                                                                      ______________________________________
                                  10
                                                                                      EDWARD J. DAVILA
                                  11                                                  United States District Judge

                                  12
Northern District of California
 United States District Court




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